        Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 1 of 9




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


 LAURA MAIETTA and WESLEY
 WILSON III,
      the plaintiffs,                           Civil Action No. 2-19-CV-04170-MMB
 v.

 C. R. BARD INCORPORATED and
 BARD PERIPHERAL VASCULAR
 INCORPORATED,
        Defendants.


         C. R. BARD, INC.’S AND BARD PERIPHERAL VASCULAR, INC.’S
       MOTION TO STRIKE PLAINTIFFS’ UNTIMELY EXPERT DISCLOSURE

       For the first time in their final pretrial memorandum, the plaintiffs identified “Royal Bunin”

as a damages expert witness. When asked who Mr. Bunin was, and whether he was previously

disclosed, counsel for the plaintiffs summarily stated, “[h]e is an economist,” “he will give us a

report and we can discuss. Not a big deal.” (E-mail exchange between counsel for the plaintiffs

and Defendants, attached as Exhibit A.) Identifying a new expert witness in a final pretrial

memorandum, providing no Rule 26 report, and doing so without any justification (let alone the

necessary substantial justification) long past the close of discovery and only a few weeks from

trial, however, is a big deal and the Court should not permit Mr. Bunin to testify at trial. Counsel

for Bard has met and conferred with counsel for the plaintiffs, asking that he voluntarily withdraw

the late-disclosed expert, but counsel for the plaintiffs have not withdrawn the expert.

                                        BACKGROUND

       As part of case-specific discovery, the parties were required to produce case-specific expert

reports by May 11, 2021, and any rebuttal reports by July 1, 2021. (See January 12, 2021, Court




                                                 1
         Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 2 of 9




Order (Doc. 32). The plaintiffs did not identify Royal Bunin in their Expert Disclosures, in any

other of their other disclosures, or in their discovery responses.

       Only in their Final Pretrial Memorandum, filed more than a year after the close of

discovery, did the plaintiffs first identify Royal Bunin as witness number 64, a “Will Call”

damages witness. (ECF No. 125 at 19.) To date, the plaintiffs have provided no information about

Mr. Bunin or his purported opinions beyond saying in a September 20, 2022, meet and confer e-

mail that “[h]e is the economist.” (Ex. A.) Nor have the plaintiffs provided any explanation as to

why Mr. Bunin was not identified in the summer of 2021 when expert disclosures were due. Trial

is set to begin on November 7, 2022.

                      ARGUMENT AND CITATION OF AUTHORITY

       Federal Rule of Civil Procedure 26(a)(2) provides that an expert “disclosure must be

accompanied by a written report—prepared and signed by the witness . . . [and] must contain

[among other things] (i) a complete statement of all opinions the witness will express and the basis

and reasons for them; [and] (ii) the facts or data considered by the witness in forming them, and

that expert disclosures “shall be made at the times and in the sequence directed by the Court.”

F.R.C.P. 26(a)(2) (emphasis added). Rule 37 sets forth potential sanctions for a party’s failure to

disclose such report: “the party is not allowed to use that information or witness to supply evidence

on a motion, at a hearing, or at trial, unless the failure was substantially justified or is harmless.”

Fed. R. Civ. P. 37(c)(1).

       The Third Circuit has enumerated four factors that a district court should consider before

excluding evidence under Rule 37: (1) bad faith or willfulness in failing to comply with the court's

order; (2) prejudice or surprise of the party against whom the evidence is directed; (3) the ability

of that party to cure the prejudice; and (4) the potential disruption of the ordinary trial of the case



                                                  2
         Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 3 of 9




or other cases in court. Perkasie v. Advance Transformer, 143 F.R.D. 73 (E.D. Pa. 1992); see also

Nicholas v. Pa. State Univ., 227 F.3d 133, 148 (3d Cir. 2000).

       In Perkasie, Judge McGlynn was presented with a similar situation that this Court is

presented with: near trial, the plaintiffs submitted a late report of an economist which introduced

new theories of damages. Id. In excluding this testimony, the court noted, “The court's ability to

exclude undisclosed witnesses in compliance with a pretrial order is essential to avoid unnecessary

expense or delay. Therefore, the issue is to be resolved at the discretion of the trial judge.” Id. at

75.

       On the first factor (bad faith or willfulness in failing to comply with court’s order), the

court in Perkasie found no explanation for failure to comply with the initial order and an

unwarranted delay in producing the expert report. Id. at 76. On the factor of prejudice/surprise,

the Court found that the new theories and methodology contained in the expert report would be

prejudicial to defendant, noting, “[a] party is not permitted to postpone identification of its own

witnesses and the substance of their testimony until a critical point in the proceedings at which it

will become extremely burdensome for his opponent to prepare effective to meet them.” Id. On

the ability of the defendant to cure the prejudice, the court noted that defendant would be required

to depose the plaintiffs new experts, retain its own economic expert and realign its defense strategy

accordingly, and “[t]o impose these added burdens when defendant's preparation for the

approaching trial will be absorbing all of its time and resources would be unduly prejudicial and

patently unfair, especially when the opposing party has offered no valid justification for ignoring

the court's deadline.” Id. at 77. Further, the court noted that although a continuance could

conceivably cure the prejudice and give additional time to prepare defendant's case, “[t]he court

does not feel compelled to do so. The court is not required to mechanically grant such



                                                  3
        Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 4 of 9




postponements in the absence of a showing of good cause, lest its orders be regularly disregarded.

In addition, the court sees no reason to reward the party who causes the prejudice without good

cause while the opposing party has conscientiously complied with its scheduling responsibilities.”

Id.

       Here, applying the Third Circuit’s four-factor test for exclusion of evidence under Rule 37,

weighs heavily in favor of excluding Ms. Maietta’s late-identified economist. First, the plaintiffs

willfully failed to comply with the Court’s expert disclosure deadline, and identified Mr. Bunin

for the first as witness expected to testify at trial more than a year after the expert disclosure

deadline and less than two months before trial. And the plaintiffs still have not provided his Rule

26 report. The plaintiffs also failed to seek Court permission before identifying Mr. Bunin as an

expert or for permission to submit his Rule 26 report at this late hour. Rather, they simply

identified him among a long list of witnesses in their Final Pretrial Memorandum as witness

number 64, without any explanation or substantial justification. The plaintiffs placed the onus on

Bard to find this needle in their haystack of witnesses, seek additional information about Mr.

Bunin, and engage in motion practice on the eve of trial.

       On the second factor, Defendants are undoubtedly surprised and prejudiced by the

identification of this additional expert. To date, Bard does not know anything about this expert,

does not know his opinions, has been deprived of an opportunity to depose him, has been deprived

of an opportunity to name a rebuttal expert of its own, has been deprived of an opportunity to file

a motion to exclude the expert’s opinions, if warranted, and has no sense of how the expert’s

opinions might impact Bard’s trial strategy.

       With respect to the third factor, the prejudice cannot be cured at this late hour under the

current schedule. Bard is in the midst of preparing for trial and cannot, without being prejudiced,



                                                4
            Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 5 of 9




take time away to learn about this new expert’s (still undisclosed) opinions, prepare for and take

his deposition, potentially retain its own expert to offer rebuttal opinions, and adjust its trial

strategy, witness testimony, and cross examination strategy.

           Finally, if Mr. Bunin is allowed to testify, it will result in the potential disruption of the

ordinary trial of the case or other cases in court, because production of a Rule 26 report, preparing

for a deposition on that report, conducting the deposition, responding with a new defense expert,

and adjusting trial strategy as needed is impossible within the current timeframe given the other

extensive pretrial activity necessary to prepare the case for the November 7 trial setting. As Judge

McGlynn concluded in Perkasie, “[t]o impose these added burdens when defendant’s preparation

for the approaching trial will be absorbing all of its time and resources would be unduly prejudicial

and patently unfair, especially when the opposing party has offered no valid justification for

ignoring the court’s deadlines.” Perkasie, 143 F.R.D. at 77; see Konstantopoulos v. Westvaco

Corp., 112 F.3d 710, 721 (3d Cir. 1997) (affirming exclusion of late disclosed expert witness when

“trial counsel was, at best, attempting to gain a tactical advantage” by not disclosing expert until

pretrial conference, which was three weeks before scheduled trial date, and never disclosing expert

report).

           Accordingly, applying all four factors discussed in Perkasie, Mr. Bunin should from

excluded testifying at trial.

                                             CONCLUSION

           For all of the foregoing reasons, Bard respectfully requests that the Court grant its Motion

to Strike the Plaintiffs’ Untimely Expert Disclosure of Mr. Bunin.

           DATED this 27th day of September, 2022.

                                    [SIGNATURE ON NEXT PAGE]



                                                     5
Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 6 of 9




                            Respectfully submitted,


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                           Attorneys for Defendants C. R. Bard, Inc. and Bard
                           Peripheral Vascular, Inc.




                               6
Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 7 of 9




 EXHIBIT A
                  Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 8 of 9




From: Cliff Rieders <crieders@riederstravis.com>
Sent: Wednesday, September 21, 2022 1:27 PM
To: Matt Brown <Matt.Brown@nelsonmullins.com>
Cc: Mark O'Connor <moconnor@beusgilbert.com>; Julia Reed Zaic <julia@hrzlaw.com>; Laura Smith
<laura@hrzlaw.com>; Debbie Bueno <dbueno@riederstravis.com>; Jessica Gallentine <jgallentine@beusgilbert.com>;
Sasha Coffiner <scoffiner@riederstravis.com>; Pam Shipman <pshipman@riederstravis.com>; Jim Rogers
<jim.rogers@nelsonmullins.com>; Kate Helm <Kate.Helm@nelsonmullins.com>
Subject: RE: Maietta v. Bard: Royal Bunin

I do not recall but he will give us a report and we can discuss. Not a big deal. Just current value info

From: Matt Brown <Matt.Brown@nelsonmullins.com>
Sent: Wednesday, September 21, 2022 9:56 AM
To: Cliff Rieders <crieders@riederstravis.com>
Cc: Mark O'Connor <moconnor@beusgilbert.com>; Julia Reed Zaic <julia@hrzlaw.com>; Laura Smith
<laura@hrzlaw.com>; Debbie Bueno <dbueno@riederstravis.com>; Jessica Gallentine <jgallentine@beusgilbert.com>;
Sasha Coffiner <scoffiner@riederstravis.com>; Pam Shipman <pshipman@riederstravis.com>; Jim Rogers
<jim.rogers@nelsonmullins.com>; Kate Helm <Kate.Helm@nelsonmullins.com>
Subject: RE: Maietta v. Bard: Royal Bunin

Thanks for getting back to me, Cliff, we did see that after “googling” him. Was he disclosed before the plaintiffs’ final
pretrial statement?

Matt

From: Cliff Rieders <crieders@riederstravis.com>
Sent: Tuesday, September 20, 2022 5:40 PM
To: Matt Brown <Matt.Brown@nelsonmullins.com>
Cc: Mark O'Connor <moconnor@beusgilbert.com>; Julia Reed Zaic <julia@hrzlaw.com>; Laura Smith
<laura@hrzlaw.com>; Debbie Bueno <dbueno@riederstravis.com>; Jessica Gallentine <jgallentine@beusgilbert.com>;
Sasha Coffiner <scoffiner@riederstravis.com>; Pam Shipman <pshipman@riederstravis.com>; Jim Rogers
<jim.rogers@nelsonmullins.com>; Kate Helm <Kate.Helm@nelsonmullins.com>
Subject: RE: Maietta v. Bard: Royal Bunin

He is the economist

From: Matt Brown <Matt.Brown@nelsonmullins.com>
Sent: Tuesday, September 20, 2022 12:35 PM
To: Cliff Rieders <crieders@riederstravis.com>
Cc: Mark O'Connor <moconnor@beusgilbert.com>; Julia Reed Zaic <julia@hrzlaw.com>; Laura Smith
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                       Case 2:19-cv-04170-MMB Document 130 Filed 09/27/22 Page 9 of 9
<jim.rogers@nelsonmullins.com>; Kate Helm <Kate.Helm@nelsonmullins.com>
Subject: Maietta v. Bard: Royal Bunin

Counsel:

In reviewing plaintiffs’ pretrial memorandum today, we noticed that plaintiffs identified Royal Bunin as witness number
64 as a “Will Call” damages witness. We can find no reference to Mr. Bunin in any previous disclosure in this case,
however. By C.O.B. tomorrow, please either identify where Mr. Bunin has been previously and properly disclosed, or
confirm that plaintiffs will withdraw him and not call him at trial. Absent the identification of previous and proper
disclosure, or withdrawing Mr. Bunin, Bard will be forced to raise the issue with Judge Baylson.

Matt

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